                              UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                               DOCKET NO. 3:94-cr-00126-MOC

UNITED STATES OF AMERICA,                     )
                                              )
                                              )
                                              )
Vs.                                           )                       ORDER
                                              )
MAJOR THOMAS III,                             )
                                              )
                  Defendant.                  )



        THIS MATTER is before the court on defendant’s Motion to Terminate Supervised

Release. Defendant contends that because he has successfully completed one year of supervised

release, the court should terminate the remainder of the 10-year period of supervision. The

government has filed a response, which indicates that while defendant has been somewhat

successful on supervised release, he has a number of violations, and that the supervising officer

does not recommend early termination at this point.

                                          ORDER

        IT IS, THEREFORE, ORDERED that defendant’s Motion to Terminate Supervised

Release (#465) is DENIED WITHOUT PREJUDICE as to a request being made by his

supervising officer in the future.

              Signed: April 30, 2013




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